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 6

 7

 8                        UNITED STATES DISTRICT COURT
 9                     SOUTHERN DISTRICT OF CALIFORNIA
10                     (HONORABLE BARBARA LYNN MAJOR)
11   UNITED STATES OF AMERICA,              )         Case No.: 18CR1404-WQH (BLM)
                                            )
12                Plaintiff,                )         MEMORANDUM OF POINTS AND
                                            )         AUTHORITIES IN SUPPORT OF
13   v.                                     )         DEFENDANT’S MOTION FOR
                                            )         BAIL
14   VINCENT RAMOS,                         )
                                            )         DATE: April 3, 2018
15                Defendant.                )         TIME: 9:30 a.m.
                                            )
16

17                                              I.
18                                       SYNOPSIS
19         The government has requested that Defendant, Vincent Ramos
20   (“Mr. Ramos”), be detained as a flight risk. This Memorandum is in support
21   of our opposition to that request as there are conditions that would ensure our
22   client’s appearance in court.
23                                              II.
24                    VINCENT RAMOS IS NOT A FLIGHT RISK
25         A.     The Law Favors Release of Vincent Ramos Pending Trial
26         “Only in rare cases should release be denied.” (United States v. Townsend,
27   897 F.2d 989, 994 (9th Cir. 1990) (citations omitted).) The right of the accused to
28   be released pending trial is a firmly rooted tenet of our criminal justice system.

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 1   The Supreme Court has repeatedly affirmed the right of persons charged with
 2   crimes to be released with bail. In Stack v. Boyle, 342 U.S. 1 (1951), the Supreme
 3   Court strongly stated that:
 4         [F]ederal law has unequivocally provided that a person arrested for a
           non-capital offense shall be admitted to bail. This traditional right to
 5         freedom before conviction permits the unhampered preparation of a
           defense, and serves to prevent the infliction of punishment prior to
 6         conviction. Unless this right to bail before trial is preserved, the
           presumption of innocence, secured only after centuries of struggle,
 7         would lose its meaning.
 8   (Stack, 342 U.S. at 4.)
 9         In 1984, Congress passed a Bail Reform Act (which superceded its
10   predecessor, the Bail Reform Act of 1966). In United States v. Salerno,
11   481 U.S. 739, 750 (1987), the Court held that the portions of the 1984 Act
12   permitting detention withstood a facial challenge under both the Due Process
13   Clause and the Eighth Amendment because of the extensive procedural safeguards
14   the Act guaranteed, including “a full-blown adversary hearing” by a “neutral
15   decision maker.”
16         Notwithstanding the passage of the Bail Reform Act in 1984, the
17   historical importance of pretrial release to our criminal justice system remains
18   of critical importance:
19         [I]t is well to remember the magnitude of the injury that pretrial
           detention inflicts and the departure that it marks from ordinary forms
20         of constitutional governance. Executive power to detain an individual
           is the hallmark of the totalitarian state. Under our Constitution the
21         prohibition against excessive bail, the Due Process Clause of the Fifth
           Amendment, the presumption of innocence --indeed, the fundamental
22         separation of powers among the Legislative, the Executive and the
           Judicial Branches of Government -- all militate against this abhorrent
23         practice. Our historical approach eschewing detention prior to trial
           reflects these concerns . . . .
24
     (United States v. Montalvo-Murillo, 495 U.S. 711, 723-24 (1990) (Stevens, J.,
25
     dissenting).) The Bail Reform Act of 1984 has thus far withstood Constitutional
26
     challenges only because the Supreme Court found that “Congress carefully
27
     prescribed stringent procedures to govern this extraordinary departure from the
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 1   guarantee of liberty normally accorded to presumptively innocent individuals.”
 2   (Montalvo-Murillo, 495 U.S. at 724-25 (Stevens, J., dissenting).)
 3         The Ninth Circuit has also strongly affirmed the idea that “federal law has
 4   traditionally provided that a person arrested for a noncapital offense shall be
 5   admitted to bail.” (United States v. Motamedi, 767 F.2d 1403, 1405 (9th Cir. 1985)
 6   (reversing district court's order of detention based on risk of flight of an Iranian
 7   citizen, who maintained large foreign bank accounts where the majority of the
 8   deposits were made by Iranian Government, who was charged with exporting
 9   military items without a license, and who had been warned that his activities were
10   illegal to do so by both U.S. Customs and the FBI).) The Ninth Circuit has made
11   firmly clear “[o]nly in rare circumstances should release be denied.” (Id.) Simply
12   put, any “[d]oubts regarding the propriety of release should be resolved in favor of
13   the defendant.” (Id.) It is within this framework – with an acknowledgment of the
14   critical role pretrial release plays within our system of criminal justice that
15   Mr. Ramos asks this Court to set a reasonable bail.
16         B.     Standard for Detention Based on Risk of Flight
17         Given that the Government has charged Mr. Ramos with an offense
18   enumerated in 18 U.S.C. § 3142(e)(3) and (f)(1), a rebuttable presumption exists
19   that no condition or combination of conditions will reasonably assure the
20   appearance of the person as required and the safety of the community. Hence,
21   Mr. Ramos must demonstrate that conditions exist that would ensure his
22   appearance as required and the safety of the community. In making this
23   determination, this Court must take into account the factors enumerated in
24   18 U.S.C. § 3142(g). Moreover, the facts this Court uses to support a finding “that
25   no condition or combination of conditions will reasonably assure the safety of any
26   other person and the community shall be supported by clear and convincing
27   evidence.” (18 U.S.C. § 3142(f).) An analysis of the factors to be considered
28   pursuant to § 3142(g) are set forth in Section I.C. below.

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 1         We believe that the following combination of conditions will reasonably
 2   assure the appearance of Mr. Ramos and the safety of the community: (a) a
 3   corporate bond that would be secured by the residence that Mr. Ramos’s wife,
 4   Sharelijane Lotus Vicera (“Sharel”), and their four children currently reside in;
 5   (b) that Mr. Ramos would reside in an apartment he would lease in San Diego
 6   prior to his release; ( c ) GPS monitoring; and (d) any other condition that this
 7   Court deems appropriate. We believe that if this Court orders condition (a), we
 8   can demonstrate that the residence has the residence has in excess of the equity
 9   needed to secure a 500,000.00 corporate surety bond. Furthermore, in anticipation
10   of a bail being set, Sharel has filled out a bond Surety Addendum, as well as sent
11   counsel the necessary documents; however, we do not anticipate filing surety
12   documents until the court decides whether we have rebutted the presumption.
13   Unfortunately, due to the four children’s schedules next week, Sharel will be
14   unable to attend the detention hearing on April 3, 2018. That being said, Sharel is
15   very supportive of Mr. Ramos getting out on bond as she needs his assistance with
16   the children, as well as the fact that he is the sole provider for their family. If the
17   court were to agree to set bond as requested, we understand a final order would
18   not issue until his wife appears in this Court and is examined by the court.
19         C.     An Analysis of the Factors Required to be Considered by
                  18 U.S.C. § 3142(g) Favors Release
20
                  1.     The Nature and Circumstances of the Offense Charged
21
           Mr. Ramos has been charged with one count of Racketeering Conspiracy to
22
     Conduct Enterprise Affairs (RICO Conspiracy), one count of Conspiracy to Aid
23
     and Abet the Distribution of Cocaine, and Criminal Forfeiture. While Mr. Ramos
24
     would concede the nature of the allegations are serious, as is any federal offense,
25
     Mr. Ramos is not charged with any crimes of violence, any crimes involving
26
     weapons, or any crimes involving threats or injuries. Mr. Ramos’s charges are
27
     non-violent and non-capital, and thus, bail is strongly favored. (See Stack v.
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 1   Boyle, 342 U.S. 1, 4 (1951); see also Sellers v. United States, 89 S.Ct. 36, 38
 2   (1968).)
 3                 2.     The Weight of the Evidence.
 4          The Ninth Circuit has repeatedly held the weight of the evidence is the least
 5   important factor to be considered by this Court in determining bail. (United States
 6   v. Winsor, 785 F.2d 755, 757 (9th Cir. 1986)(“Section 3142 neither requires nor
 7   permits a pretrial determination that the person is guilty; the evidence of guilt is
 8   relevant only in terms of the likelihood that the person will fail to appear or will
 9   pose a danger to the community.”); United States v. Gebro, 948 F.2d 1118, 1121
10   (9th Cir. 1991).) Pursuant to § 3142(j), the presumption of innocence prevails.
11   “Nothing in the [Bail Reform Act of 1984] shall be construed as modifying or
12   limiting the presumption of innocence.” (Title 18 U.S.C. § 3142(j) (2016).)
13   Mr. Ramos does not address the merits of the evidence against him simply
14   because he is presumed innocent, and equally as important, to date he has not been
15   provided with any discovery.
16                 3.     The History and Characteristics of the Person
17           Section 3142(g)(3) lists a number of factors regarding the history
18   and characteristics of a person to be considered in making the release
19   determination. These factors are listed and explored below, and all mitigate
20   in favor of setting bail.
21                 (a).    The person's character
22           Mr. Ramos’s character speaks of an educated man with familial and
23   employment stability, and a history of respect for the law. Mr. Ramos was born on
24   November 16, 1977, in Winnipeg, Canada. His father was a janitor and his mother
25   was a nurse. At the age of four, Mr. Ramos and his family moved to Vancouver.
26   He has lived there ever since, which demonstrates deep roots to his community.
27   Mr. Ramos has one sister, Cheryl. They are very close.
28

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 1           Mr. Ramos is married to a very supportive and loving woman named
 2   Sharel. She is a homemaker. They have three children together, Sharyssa (age 9),
 3   Sharlem (age 8), and Sasha (age 5). Mr. Ramos also has a son, Deon (age 18),
 4   from a previous marriage. Sharel considers Deon to be her own son.
 5           It is important to note that Mr. Ramos has no prior criminal record. He
 6   finds himself in trouble with the law for the first time.
 7           Those that know Mr. Ramos best have expressed shock at hearing of his
 8   arrest. In letters to this Court attached as Exhibit “A”, his loved ones talk about
 9   their support for Mr. Ramos, as well as about his character, in pertinent part,
10   as follows:
11                 . . . I have known Vincent Gabriel Ramos since 2007 as
                   he is the husband to my sister Sharel Vicera. . . [¶.]
12                 Vince, as we call him, is one of the most generous,
                   helpful, kind spirited individual[s] I have ever met in my
13                 life. I am so lucky to have a brother in law who is
                   understanding and is always willing to give a helping
14                 hand. He is truly a family man, is loving, caring and is
                   always supportive of his family and children in anything
15                 they wish to do whether it is in sports or hobbies. . . .
                   [¶.] . . . Not only is he a role model to his children [on
16                 the flag football team,] but also to his friends and
                   colleagues. . . One of his great characteristics is that
17                 he’s always motivating everyone. He has numerous
                   great qualities in him and that is why he has many
18                 friends that know him as being trustworthy.
                             Shellaine Vicera
19
                   . . . I am Vince’s brother-in-law and have been married
20                 to his older sister, Cheryl, since 2004. I’ve known
                   Vince since 2001. [¶.] . . . Vince is just naturally very
21                 affectionate and generous. He is an integral cog to their
                   family dynamic. [¶.] A couple of other things I know
22                 about Vince... his friends and extended family all think
                   very highly of him, as someone always willing to help.
23                 He also is a very hard worker. . .
                             Dr. Chris Gordillo
24
                   I have known Vince for a period of 10 years.
25                 Throughout the years, he has been nothing but a great
                   friend, role model and brother in law. He is an
26                 outstanding citizen, and I can only mention positive
                   attributes about him as that is what he is known for. . .
27                 Vincent is a humble, kind soul and I can easily describe
                   him as a super dad. . . It is quite painful to have to
28                 witness the separation between Vincent and his children,

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 1               as their relationship is inseparable before this
                 unfortunate incident had occurred. On top of being
 2               super dad, Vincent is always working hard to care for
                 his elderly parents, also to his elderly aunt and uncle
 3               who rely on his presence to keep them strong and happy.
                 . . He is also a loyal and dedicated husband to my sister,
 4               and always strives to give his best to her. Vincent also
                 helped bring in my late grandma into his home during
 5               the last few years of her life, which was an extensive
                 amount of care and attention. . . He also helps my
 6               mother who is turning 70 this year. . . Vincent is overall
                 the perfect example of a loving son, brother, father,
 7               husband, uncle, friend and a godfather to many children
                 including my son. . . [¶.] The nature of the offences is
 8               very surprising and shocking, as I have always known
                 Vincent Ramos to be an intelligent, personable, hard-
 9               working and trustworthy individual. . . [¶.] I hope this
                 letter will give you an idea of his good moral character
10               and will help him get a second chance to prove this was
                 an unusual occurrence, as well as his innocence.
11                        Patricia Mendoza
12               I have known Vince for the past ten years. He has been
                 happily married to my wife’s sister Sharel. [¶.] Vince is
13               a wonderful father who always shows love to his family
                 and friends. [¶.] His children are a reflection of his
14               character. They are loving, caring, smart, athletic and
                 happy. [¶.] Vince makes it a priority to be directly
15               involved in his children’s lives. [¶.] Whether it’s
                 coaching his son Sharlem’s football team, practicing
16               jujitsu with Sharyssa or playing tea time with his baby
                 princess Sasha. . . [¶.] I ask whatever outcome that is
17               given to Vince that his children are considered. His
                 loving presence in their lives is immeasurable.
18                       Ronald Sombilon
19               I have known Vincent Ramos and his family for my
                 entire life. Vincent’s father’s brother married my
20               father’s second cousin and by Filipino cultural standards
                 this would have us, from a very young age, referring to
21               each other as cousins. [¶.] . . . A loving father,
                 husband, brother, and son, Vincent is well respected by
22               many in the community and is the foundation of his
                 family. He volunteers his time coaching elementary
23               school sports and is a role model parent. . . He is a
                 trusted advisor and a dear friend . . .
24                       Bienvenido Matute
25               I have known Vincent Ramos for over 20 years. We
                 have grown up together as young men obsessed with
26               basketball and cruising in our cars to fathers obsessed
                 with their families. Vince and I take pride in our
27               children and caring for them in every way we can. He is
                 a kind, generous and caring man. [¶.] Vince is an
28               outstanding father and husband . . . [¶.] Vince’s main

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 1               priority in life is ensuring that he is the best dad he can
                 be. We discuss raising children with solids [sic] values
 2               and an industrious work ethic. . . [¶.] Vincent Ramos is
                 an excellent friend and even better father and husband. .
 3               . Vince always reminds me that family is paramount
                 and that everything else comes second. He truly is an
 4               outstanding individual.
                         Roy Kanda
 5
                 I have known Vincent Ramos since I was ten years old
 6               as we both grew up in Richmond together. He has been
                 one of my best friends for the last 30 years and we have
 7               remained in touch even though I moved away from
                 Canada to Africa. . . He is very caring as a husband to
 8               his wife and father to his four children. He has been
                 supporting and looking after his parents for the last
 9               10 years. [¶.] I have always known Vincent Gabriel Ramos
                 as a hard working, intelligent, honest family man.
10                       Alykhan Allibhai
11               Vincent and I are close childhood friends as we grew up
                 together and have known each other for 30 years. Now
12               that we are both father’s, our families socialize together
                 and our children enjoy playing together. [¶.] . . .
13               Vincent developed his extremely strong and disciplined
                 work ethic from his parents at [a] very early age.
14               Vincent is a devoted husband and father of 4 children. I
                 have always admired his honesty and strong family
15               values.
                         Omar Janmohamed
16
                 I have been preparing personal tax returns of Vincent
17               Ramos for over 10 years and giving tax advice to him
                 and his corporation, Phantom Secure Communications
18               Inc. from the time the corporation was incorporated. [¶.]
                 I found him to be [an] ernest, well mannered young
19               businessman, prepared to work hard to make his
                 business grow and willing to learn new things involved
20               in the growth of his busienss [sic]. [¶.] He did not want
                 to take any shortcuts to gain any extra advantage out of
21               a tax situation. [¶.] He was always prepared to listen to
                 me about good and bad implications of tax planning and
22               made conservative business choices.
                         Ash Katey
23
                 I met Vincent Ramos about 10 years ago through a
24               friend. Ever since then we have been good friends.
                 Vincent has always been one of the friendliest, most
25               humble, genuine and kind person I have ever met. He is
                 always willing to help anyone in need and would    never
26               ask for anything in return. . . When I had my 1st child,
                 my husband and I asked him to be one of his
27               Godfathers. . . In all those years I have known him he
                 has always stayed the same good person that he has
28               always been since the first day I met him. [¶.] Vincent

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 1                is a loving, devoted husband, an amazing father to his
                  three children and a reliable friend. . . [¶.] I can confirm
 2                that in the time I have known him, Vincent Ramos has
                  been a reliable trustworthy and decent person. He is and
 3                always will be an asset to the community and to all his
                  family and friends who love and care about him.
 4                         Anna Bamba
 5                I met Vince about 3 years ago through mutual friends
                  and had a chance to briefly meet his wife and kids over
 6                the time I’ve known him. [¶.] From the encounters I’ve
                  had with Vince, I can say he is a very genuine person
 7                who is ambitious and very caring. He consistently does
                  things for his family, wife, and kids and is very
 8                passionate about them and their well-being. As a friend,
                  he had also been very caring and supportive of my life
 9                and business.
                          Jeremy Wong
10
                  I am writing this letter to support the efforts of Vincent
11                Ramos returning to his family as soon as possible.
                  Vincent has four children, a wife and other family that
12                he loves and supports. [¶.] Vincent has always struck
                  me as someone you could count on; someone who
13                would be more than willing to lend a hand or help
                  someone in need. . . [¶.] Over the years I spent a lot of
14                time with Vincent. [H]e was always one of the most
                  positive and respectful people around. You could tell he
15                cared about people, doing well in life and contributing
                  to the world in hopes of making it a better place.
16                        Kevin Thexton
17           As this Court can see, Vincent is extremely dedicated to his family. There
18   is very little chance that he would flee his wife and children, and not abide by the
19   conditions of bond. Moreover, his family home (where his wife and children
20   reside) is the collateral that would be used for the bond. There is virtually no
21   chance he would risk making them homeless by taking flight. As discussed above,
22   Mr. Ramos has very close ties to his family and community. Therefore, this Court
23   should set a reasonable bond.
24                (b).    Physical and mental condition
25           Mr. Ramos is physically and mentally fit. He suffers from no serious
26   diseases or health conditions that would hinder his ability to attend all future court
27   proceedings in this case.
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  1                   ( c ).   Family ties
  2           Please see above.
  3                   (d).     Employment and Education
  4           As far as education, Mr. Ramos spent two years at Kwantlen College
  5   studying business. In addition to being a good student, Mr. Ramos has always
  6   been a very hard worker. He began his career selling Amway products.
  7   Thereafter, from approximately 2001-2005, he worked as a salesperson for Rogers
  8   Cellular when he decided to start his own company in 2006. He has been selling
  9   Blackberry communication devices and found customers liked to use the text
 10   function for confidential communications. In 2008, he purchased his own servers
 11   and hired a tech person to install them. Mr. Ramos purchased licenses that were
 12   commercially available and already in use in the industry. He created no
 13   encryption programs, but used only those already on the market. We understand
 14   the security devices were like ones being used by our own Government on
 15   BlackBerrys they purchase.
 16           In addition to working, Mr. Ramos also volunteers his time in the
 17   community. He is a coach to the Richmond Raiders Boys Flag Football team,
 18   which is a team consisting of eight year-olds. His son, Sharlem, plays on the team.
 19                   (e).     Financial resources
 20           Mr. Ramos has the financial resources to attend every court hearing and
 21   abide by whatever conditions this Court sets.
 22                   (f).     Length of residence in the community
 23           As stated above, Mr. Ramos has lived in Vancouver since he was four
 24   years-old. This Court should be aware that Mr. Ramos has a cousin in Newport
 25   Beach, California, that would be willing to house Mr. Ramos during the pendency
 26   of this case.
 27                   (g).     Community ties
 28           Again, as noted above, Mr. Ramos has a cousin in Southern California

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  1   where he can be housed during the pendency of this case. The fact that Mr. Ramos
  2   lives in Vancouver does not support detention since he has familial ties to
  3   Southern California. “If the defendant is a United States resident, the community
  4   to be considered must be at least as broad as the United States. Accordingly, []
  5   ‘community’ [] embraces both the community in which the charges are brought
  6   and also a community in the United States to which the defendant has ties.” (See
  7   Townsend, 897 F.2d at 995 (citing, e.g. Troung Dihn Hung v. United States, 439
  8   U.S. 1326 (1978) (ordering bail where defendant resided continuously in the
  9   community for 13 years and had extensive ties to the community); United States v.
 10   Himler, 797 F.2d 156, 162 (3d. Cir. 1986) (reversing order of detention because of
 11   defendant’s family ties).) As Mr. Ramos has familial ties to Southern California, a
 12   reasonable bail should be set.
 13                    (h).   Past conduct
 14           As stated above, Mr. Ramos has no negative past conduct to mention.
 15   His past conduct only speaks of an individual devoted to his family and serving
 16   his community.
 17                    (I).   History relating to drug or alcohol abuse
 18           Mr. Ramos has no history of drug or alcohol abuse.
 19                    (j).   Criminal history
 20           Mr. Ramos has no criminal history.
 21                    (k).   Record concerning appearance at court proceedings
 22           Mr. Ramos has never had a failure to appear as he’s never been charged
 23   with a crime.
 24                    (l).   Whether, at the time of the current offense or arrest, the
                              person was on probation, on parole, or on other release
 25                           pending trial, sentencing, appeal, or completion of
                              sentence for an offense under Federal, State, or local law
 26

 27           Mr. Ramos was not on probation, parole, or supervised release at the time
 28   of his arrest.

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  1
              4.   The Nature and Seriousness of the Danger Posed By the Person’s
  2                Release.
  3
              There would be no danger to any person or the community if Mr. Ramos
  4
      were to be released on a reasonable bail. As stated above, Mr. Ramos is not
  5
      charged with a violent crime. Moreover, he has no prior criminal record. Finally,
  6
      as the character letters attached hereto attest, he is a kind and gentle, family man.
  7
                                               III.
  8
                                        CONCLUSION
  9
              A review of the factors enumerated in Section 3142(g) reveal that
 10
      Mr. Ramos has rebutted the presumption that no condition or combination of
 11
      conditions will reasonably assure the appearance of Mr. Ramos as required and the
 12
      safety of the community. Mr. Ramos is respectfully requesting that this Court
 13
      order the following combination of conditions for bail: (a) a corporate bond that
 14
      would be secured by the residence that Mr. Ramos’s wife, Sharel, and their four
 15
      children currently reside in; (b) that Mr. Ramos would reside with his cousin,
 16
      Ferdinand Tomas, in Newport Beach, California, during the pendency of this case
 17
      (or, in the alternative, he can rent an apartment in San Diego); ( c ) GPS
 18
      monitoring; and (d) any other condition that this Court deems appropriate to
 19
      reasonably assure his appearance to all future court appearances and the safety of
 20
      the community.
 21

 22
      Dated: April 2, 2018                            Respectfully submitted,
 23

 24                                                   /s Michael Pancer
                                                      MICHAEL PANCER
 25                                                   Attorney for VINCENT RAMOS
 26

 27

 28

                                                12
